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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KENNETH ALBRECHT, individually and on
 behalf of all others similarly situated,

                    Plaintiff,

        v.                                          Case No. 1:18-cv-1061

 OASIS POWER, LLC d/b/a OASIS                       The Honorable Harry D. Leinenweber
 ENERGY,

                    Defendant.


                     OASIS POWER, LLC’S MOTION TO TRANSFER
                          AND TO DEFER CASE DEADLINES

       Oasis Power, LLC (“Oasis Energy”) hereby moves the Court to transfer the present action,

Albrecht v. Oasis Power, LLC, filed in this Court on February 12, 2018, to the United States

District Court for the District of Nevada pursuant to 28 U.S.C. § 1404(a). Oasis Energy also

requests that the Court defer case deadlines, including Oasis Energy’s response to Plaintiff’s

Complaint, until 30 days after this Motion is resolved.

       Oasis Energy submits its Memorandum of Law in support of its Motion

contemporaneously herewith.

Dated: March 9, 2018                         Respectfully Submitted,

                                                     By: /s/ William J. Kraus
                                                     William J. Kraus
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of March, 2018, a true and correct copy of the foregoing

Motion to Transfer and to Defer Case Deadlines was filed through the CM/ECF system, which

will send a notice of electronic filing to all counsel of record.


                                                       By: /s/ William J. Kraus
